Case 1:08-cv-01218-WBS-SMS   Document 205-6   Filed 03/08/11   Page 1 of 6
Case 1:08-cv-01218-WBS-SMS                Document 205-6          Filed 03/08/11    Page 2 of 6



 1   James N. Fincher, SBN 196837
     Merced County Counsel
 2   Roger S. Matzkind, SBN 77331
     Chief Civil Litigator
 3   Marianne O. Greene, SBN 153376
     Deputy County Counsel
 4   2222 “M” Street, Room 309
     Merced, California 95340
 5   Tel - (209) 385-7564
     Fax- (209) 726-1337
 6
 7   Attorneys for County of Merced
 8                                        United States District Court
 9                                        Eastern District of California
10
     Karen Crane-McNab, Bert Crane and Mary                  Case No. 1:08-CV-01218-WBS-SMS
11   Crane Couchman., individuals; Karen Crane-
12   McNab, LLC; Bert Crane Orchards, L.P.;                  Declaration of Marianne M. Greene
     Mary Crane Couchman Trust; and Mary
13   Crane Couchman Family Partnership, L.P.,
14
                            Plaintiffs,
15
                  vs.                                        Date: April 13, 2011
16                                                           Time: 10:30 a.m.
     County of Merced, and Does 1 to 20,                     Courtroom: TBA
17
18                          Defendants.

19           I, Marianne M. Greene, declare:

20           1.         I am an attorney at law duly licensed to practice before all of the Courts of

21   the State of California and am a Deputy County Counsel for the County of Merced and

22   attorneys for the defendants herein.

23           2.         Unless otherwise stated, all matters stated herein are based upon my personal

24   knowledge, and if called upon, I could and would testify competently as to their veracity.

25   Those matters stated to be based upon my information and beliefs are believed by me to be

26   true.

27           3.         I have spent 143 hours on this case, as documented at Exhibit 1 to this

28   declaration, starting June 30, 2009. I worked on examining responsive documents to and



                                                         1
                                           Declaration of Marianne M. Greene
Case 1:08-cv-01218-WBS-SMS            Document 205-6         Filed 03/08/11      Page 3 of 6



 1   compiling responsive documents for discovery motions. I analyzed the history of past
 2   government takings actions and the scope of easements reserved to the property owners.
 3   I researched constitutional takings issues, flood easement law, wetlands and mitigation
 4   issues related to land use entitlements, various dimensions of federal and state regulatory
 5   requirements for dam maintenance. I prepared extensive questions based on preliminary
 6   groundwater testing results to determine whether to retain potential chemical
 7   contamination experts. I conducted CERCLA defense research during and after the trial.
 8          4.      I have been practicing law in the State of California since 1991 and have
 9   primarily specialized in environmental regulation and land use law, both in private and
10   government settings. During law school, before I passed the bar, I worked for the California
11   State Attorney General offices as a research law clerk solely on cases involving state and
12   federal toxic waste management and clean up laws.
13          I declare under penalty of perjury, under the laws of the United States of America,
14   that the foregoing is true and correct. Executed at Merced, California, on March 8, 2011.
15
                                                   /s/ Marianne M. Greene
16                                                 Marianne M. Greene

17
18
19
20
21
22
23
24
25
26
27
28



                                                    2
                                      Declaration of Marianne M. Greene
Case 1:08-cv-01218-WBS-SMS   Document 205-6   Filed 03/08/11   Page 4 of 6




                      Exhibit 1
  Case 1:08-cv-01218-WBS-SMS         Document 205-6         Filed 03/08/11   Page 5 of 6


                                  Marianne M. Greene
                                    Crane Hours Log
                                 July 2009 to Feb 2011


Dated       Description                                                       Time
6/30/09     12(a)(6) Motion research                                          1.5
7/1/09      Discovery Mtn coord w/ Depts                                      1.5
7/6/09      Discovery Mtn analysis and review                                 2.5
7/7/09      Discovery Mtn rsrch and review                                    3.5
7/9/09      Discovery Mtn analysis and review                                 7.0
7/10/09     Discovery Mtn rsrch and review                                    4.0
7/17/09     Discovery Mtn Finalize                                            1.5
7/23/09     Review files and follow up on subpoena                            1.5
7/29/09     Rsrch statutory defenses, civil procedure, and local rules        5.0
7/30/09     Rsrch and analyze subpoena, deeds and easements, and RFP          1.5
7/31/09     Rsrch and analyze subpoena, deeds and easements                   6.5
            Rsrch and analyze subpoena and deeds, including assessors
8/3/09                                                                        3.0
            records
            Rsrch and analyze subpoena and deeds, including assessors
8/4/09                                                                        3.0
            records, start constitutional takings research
8/5/09      Rsrch con law takings, deeds and easements, and coord w/ PW       6.5
8/13/09     Rsrch defenses, con law takings                                   1.0
8/18/09     Rsrch defenses, con law takings                                   2.5
9/2/09      Review subpoena follow up                                         0.5
            Analyze environmental mitigation and ACOE ops and mtnc
9/8/09                                                                        7.5
            manual
            Analyze environmental mitigation and ACOE ops and mtnc
9/9/09                                                                        6.5
            manual
9/10/09     Mtg re Maps, Sullivan prep, subpoena, rvw easement language       8.0
9/14/09     Review case letter                                                0.5
9/17/09     Analyze maps                                                      0.5
9/23/09     Review answer to discovery                                        1.5
9/25/09     General discovery and research                                    1.5
9/28/09     General discovery and research                                    0.5
10/6/09     Rsrch mitigation and easements                                    4.0
  Case 1:08-cv-01218-WBS-SMS         Document 205-6       Filed 03/08/11     Page 6 of 6


10/8/09     Rsrch mitigation and easements                                    0.5
10/9/09     Rsrch mitigation and easements                                    2.0
10/12/09    Rsrch easements and temp taking                                   2.5
10/19/09    Rsrch temp taking, easements, and coord meeting                   3.5
10/20/09    Rsrch easements, and test results letter                          2.0
10/23/09    Analyze wetlands mapping                                          1.0
11/16/09    Chemical expert discovery prep                                    4.0
11/17/09    Chemical expert discovery prep                                    5.0
11/18/09    Chemical expert discovery prep                                    2.5
            Settlement discovery and chemical discovery prep, and sec. 815
12/1/09                                                                       4.0
            rsrch
12/10/09    Chemical expert discovery questions                               1.0
12/17/09    Motions research and drafting                                     1.5
1/15/10     Analyze China Cabin Ranch                                         1.5
1/25/10     PI- State v. Fed Research                                         1.0
2/19/10     Real Estate Appraisal                                             1.5
3/9/10      Env Health Research                                               0.5
3/11/10     Map Analysis                                                      1.5
4/20/10     Settlement Lttr & Memo                                            4.5
4/27/10     Settlement Strategy Mtg & Review TTs Letter                       0.5
7/23/10     Research Wetland & Enviro Regulations                             4.0
7/26/10     Research CWA 404 Caselaw.                                         2.0
10/21/10    Research on Odor as Trespass                                      1.0
11/3/10     Takings Research                                                  2.5
11/4/10     Review Cabin Ranch EIR                                            0.5
11/5/10     Case Document Management                                          1.0
11/10/10    Constitutional Law Research                                       1.5
1/25/11     CERCLA Research                                                   3.5
1/26/11     CERCLA Research and memo                                          0.5
2/1/11      CERCLA Research                                                   2.5
2/2/11      CERCLA Research                                                   0.5
            TOTAL                                                             143
